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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                  CORPUS CHRISTI DIVISION

     UNITED STATES OF AMERICA,                           §
                                                         §
                                      Plaintiff          §
                                                         §
     versus                                              §        CIVIL ACTION C-10-306
                                                         §             (CDCS: 2010A65445)
     ROWLAND M. ANDRADE,                                 §
                                                         §
                                      Defendant          §


                                                  Complaint
1.      Jurisdiction. The district court has jurisdiction because the United States is a party.

        See U.S. CONST., art III, § 2, and 28 U.S.C. § 1345.

2.      Venue. The defendant is a resident of Nueces County, Texas, and may be served with

        process at Corpus Christi, Texas 78410.

3.      The Debt. The debt owed the United States as of the date of the Certificate of

        Indebtedness is:

        A.     Current principal                                                       $     1,955.00

        B.     Interest (capitalized and accrued)                                      $          463.20

        C.     Administrative fees, costs, penalties                                   $          350.00
               (Filing fee of $350.00 Included)


        D.     Attorney's fees                                                         $          785.00

        E.     Balance due                                                             $     3,553.20

        F.     Prejudgment interest accrues at

               2.48% per annum being $ 0.13 per day.

        The current principal in paragraph 3 A is after credits of $ 0.00.
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       The certificate of indebtedness, attached as Exhibit A, shows the total owed excluding

attorney's fees and central intake facility charges. On the date of the certificate the principal and

interest shown were correct after credits having been applied.

4.     Failure to pay. Demand has been made on the defendant to pay the indebtedness, and

       the defendant has failed to pay it.

5.     Prayer. The United States prays for judgment for:

       A.      The sums in paragraph 3 plus pre-judgment interest through the date
               of judgment, administrative, service and recording costs, and post-
               judgment interest.

       B.      Attorney's fees; and,

       C.      Other relief the court deems proper.

                                                Respectfully submitted,

                                                CERSONSKY, ROSEN & GARCÌA, P.C.


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